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                          UNITED STATES DISTRICT COURT
                            DISTRICT OF CONNECTICUT

___________________________________________
SANDRA FRAZIER                              )               CIVIL ACTION
     Plaintiff                              )
                                            )               COMPLAINT
v.                                          )
                                            )               TRIAL BY JURY
APM FINANCIAL SOLUTIONS, LLC                )               DEMANDED
     Defendant                              )
___________________________________________)                NOVEMBER 14, 2011


                                        COMPLAINT

       1. This is a suit brought under the Fair Debt Collection Practices Act (“FDCPA”),

15 U.S.C. § 1692b(3), § 1692d(5) et seq. and the Connecticut Unfair Trade Practices

Act, Conn. Gen. Stat. § 42-110a et seq. (“CUTPA”).

       2. Plaintiff, Sandra Frazier, is a consumer residing in Middletown, Connecticut.

       3. APM Financial Solutions, LLC (“APM”) is a New Jersey corporation that

accepts assignments of collection accounts from businesses and is a “debt collector”

within the meaning of 15 U.S.C. § 1692a(6).

       4. Jurisdiction in this Court is proper pursuant to 15 U.S.C. § 1692k(d), 28

U.S.C. §§ 1331,1337 and 1367, and Fed. R. Civ. P. 18(a).

       5. This Court has jurisdiction over APM because it engages in debt collection

within Connecticut.

       6. Venue in this Court is proper, as the Plaintiff is a resident and the acts

complained of occurred in this state.

       7. In or around March 2011, Plaintiff began receiving calls from APM in attempts

to collect a debt.
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       8. During these calls, APM told Plaintiff that it was trying to reach Rebecca

Frazier, Plaintiff’s niece, and that it was attempting to collect a consumer debt from her.

       9. Plaintiff told APM that she was Rebecca Frazier’s aunt and that Rebecca

Frazier had never lived at her address.

       10. Plaintiff provided APM with Rebecca Frazier’s address and telephone

number.

       11. APM continued to call Plaintiff in an attempt to collect the debt owed by

Rebecca Frazier and, on each occasion that Plaintiff spoke with APM, she requested

that it stop calling her.

       12. Despite these requests, APM left several voicemail messages for Plaintiff in

which it asked to speak with Rebecca concerning an “urgent matter”.

       13. In one of these messages, APM asked to speak with “Ms. Frazier” concerning

an “urgent matter.”

       14. APM has violated the FDCPA by harassing Plaintiff, by calling her more than

once for Rebecca Frazier’s location information, by attempting to leave messages for

Rebecca Frazier, and by its attempts to collect the debt from Plaintiff.

       15. APM’s conduct violated CUTPA and has caused Plaintiff to suffer an

ascertainable loss of money in the form of expenses related to utility costs related to

receiving APM’s calls and communication costs in terms of the need to consult with

legal counsel.




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WHEREFORE, the Plaintiff seeks recovery of actual damages (including emotional

distress damages), statutory damages, and attorney’s fees pursuant to 15 U.S.C. §

1692k and actual damages, punitive damages, and attorney’s fees pursuant to Conn.

Gen. Stat § 42-110g.

                                       PLAINTIFF, SANDRA FRAZIER


                                       By: /s/Daniel S. Blinn______
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